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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 17-CV-22446-ALTONAGA


  HERBERT BAUSSIQUOT,

           Plaintiff,

  vs.

  AKAL SECURITY INC
       Defendant.

                                                   /
   PLAINTIFF, HERBERT BAUSSIQUOT’S APPENDIX IN SUPPORT OF HIS MOTION
                    FOR PARTIAL SUMMARY JUDGMENT
  Plaintiff, HERBERT BAUSSIQUOT, (“Baussiquot” or “Plaintiff”) respectfully submits his

  Appendix of Exhibits in support of his Motion for Partial Summary Judgment:

        Exhibit                                            Description
  Defendant’s           Defendant’s Answer and Statement of Defenses to Plaintiff’s Amended
  Answer                Complaint.
  Seymour Tr.           Deposition Transcript of Lenora Seymour (January 19, 2018)
  Olmedo Tr.            Deposition Transcript of Joseph Olmedo (January 12, 2018)
  Coker Tr.             Deposition Transcript of Josephine Coker (January 17, 2018)
  Elias Tr.             Deposition Transcript of Marc Elias (January 19, 2018).
  Exhibit 1             Defendant’s Employee Manual Bates DEF 000542-000625
  Exhibit 2             Notice of Eligibility and Rights & Responsibilities (FMLA) 7/7/2016 Bates
                        DEF 000272-000273.
  Exhibit 3             Approval Letter dated 7/17/2016 - Bates DEF 000274.
  Exhibit 4             Notice of Eligibility and Rights & Responsibilities (FMLA) 10/14/2016 Bates
                        DEF 000280-000281.
  Exhibit 5             Approval Letter dated 10/14/2016 - Bates DEF 000282.
  Exhibit 6             Intermittent Tracking Sheet Bates DEF 000804.
  Composite             Emails from Olmedo Bates DEF 000391, 000400.
  Exhibit 7
  Exhibit 8             Email from Olmedo to Supervisor Bates DEF 000375




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  Exhibit 9       Defendant’s Responses to Plaintiff’s First Set of Interrogatories.
  Exhibit 10      Range Qualifications Completed Email Bates DEF 000338.
  Exhibit 11      Range qualification Scheduled for 9/10/16 Bates DEF 000381.
  Exhibit 12      Email dated 9/13/16 re: Officers missing Requalification Bates DEF 000383-
                  000384.
  Exhibit 13      Plaintiff’s Information Report Form dated 9/26/16. Bates DEF 000182-000183.
  Exhibit 14      Personnel Action Report (PAR) Dated September 26, 2016. Bates DEF 000227.
  Exhibit 15      Letter to Plaintiff re: Removal from Schedule pending further notice Bates DEF
                  000228.
  Exhibit 16      Email to Josephine Coker Re: Disciplinary and Termination Request Bates
                  DEF 000448-000451.
  Exhibit 17      Minimum Standards for Employee Conduct & Qualifications for Duty Bates
                  DEF 000250-000257.
  Exhibit 18      Termination letter Bates DEF 000201.


  Dated: February 6, 2018.                     Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE


  I HEREBY CERTIFY that on February 6, 2018, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.




                                                 /s/ Nathaly Lewis
                                                  NATHALY LEWIS, Esq.




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                                      SERVICE LIST


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